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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 BRITISH TELECOMMUNICATIONS                     )
 PLC,                                           )
                                                )
                           Plaintiff,           )
                                                )
                   v.                           )      C.A. No. 18-366-WCB
                                                )
 IAC/INTERACTIVECORP,                           )
 MATCH GROUP, INC.,                             )
 MATCH GROUP, LLC, and VIMEO, INC.,             )
                                                )
                           Defendants.          )

      NOTICE OF PLANTIFF’S NON-OPPOSITION TO DEFENDANTS’ MOTION
             FOR LEAVE TO FILE SUMMARY JUDGMENT MOTION
                        AFTER 6:00 PM DEADLINE

        On August 14, 2020, Defendants IAC/InteractiveCorp, Match Group, Inc., and Match

Group, LLC filed a motion seeking leave to extend the Court’s August 14, 2020, 6:00 p.m.

deadline to permit the filing of Defendants’ Motion for Summary Judgment of Invalidity Under

35 U.S.C. § 101 (D.I. 229), which was filed contemporaneously with the motion seeking leave

(D.I. 230-31). Plaintiff British Telecommunications plc (“BT”) does not oppose the motion for

leave, and agrees that Defendants’ underlying summary judgment motion should be deemed and

treated as timely filed.

        Indeed, on August 14, 2020, BT filed a motion at 6:00 p.m. (D.I. 227) with the

supporting memorandum and exhibits being filed shortly thereafter (D.I. 228). It is BT’s

position that all such motions and papers filed on August 14, 2020 should be deemed and treated

as timely filed.

        There was apparently a miscommunication between the parties about the nature and

scope of a proposed, but-not-finalized, stipulation or whether Defendants were authorized to
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raise it with the Court in their email to Mr. Teel. Nevertheless, the parties are in the process of

finalizing the remaining aspects of an agreement, which will not impact the schedule for pretrial

dispositive (e.g., summary judgment) and/or Daubert motions briefing already set by the Court

(all opening briefs due August 14, 2020, answering briefs due August 28, 2020, and reply briefs

due September 4, 2020) or the timeliness of motions filed on August 14, 2020.


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Dated: August 16, 2020
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                                                      British Telecommunications plc




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